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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


Virginia L. Giuffre,

       Plaintiff,

v.                                    Case No.: 15-cv-07433-RWS

Ghislaine Maxwell,

       Defendant.


     INTERVENORS’ JULIE BROWN AND MIAMI HERALD MEDIA CO.’S
RESPONSE TO MAXWELL’S OBJECTIONS TO UNSEALING SEALED MATERIALS
          RELATED TO DOCKET ENTRIES 231, 279, 315, 320, & 335




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       Intervenors Julie Brown and Miami Herald Media Co. (“Miami Herald”) respectfully

submit this response to Defendant Ghislaine Maxwell’s Memorandum of Law in Support of

Objections to Unsealing Sealed Materials Related to Docket Entries 231, 279, 315, 320, & 335

(Dkt. 1149) (“the Objections”) and to the objections raised in Ms. Maxwell’s November 18, 2020

letter regarding J. Doe 1 (Dkt. 1154).1

                                          ARGUMENT

       Ms. Maxwell’s Objections continue to assert the same meritless arguments that this Court

and the Second Circuit have already found unpersuasive. See, e.g., Giuffre v. Maxwell, 827 F.

App’x 144 (2d Cir. 2020) (affirming this Court’s “individualized review of the materials to be

unsealed” and decision to unseal). Ms. Maxwell’s arguments fare no better with regard to the

present batch of docket entries than they did with the last. Moreover, Ms. Maxwell’s request to

withhold “plaintiff’s counsels’ commentary on the credibility of witnesses” and “lawyer vitriol”

and “argument” (see Objections, at 2) is entirely without merit. Disagreeing with opposing

counsel’s arguments is not a basis for withholding them from public view.

       This Court has already ruled that the same countervailing interests Ms. Maxwell asserts in

her present Objections were conclusory and speculative. See App. 838-39 (transcript of ruling),

Giuffre v. Maxwell, 20-cv-2413 (2d Cir. 2020). This Court held that “[w]ith respect to the argument

that the material constitutes personal information which might lead to annoyance or

embarrassment if unsealed, Ms. Maxwell proffers little more than her [ipse] dixit; she provides no

specifics as to these conclusions.” Id. at 838. And regarding the impact of disclosure on her


1
  As with prior filings, counsel for Intervenors have seen only the redacted versions of these
documents that are available on the public docket and submit this response based on the known
portions of the documents as well as the parties’ public representations as to their contents.
Intervenors incorporate by reference their arguments offered in response to the alleged
“Countervailing Interests” identified by Ms. Maxwell—all of which are without merit. See Dkt.
1067.
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criminal matter, this Court held, “[a]gain, Ms. Maxwell has relied on [ipse] dixits and has not

explained how the sealed material, if released, could, as she posits, ‘inappropriately influence

potential witnesses or victims.’” Id. at 839. “[U]nder the facts of this case,” the Court held Ms.

Maxwell’s interests connected to her criminal matter are “entitled to little weight.” Id. The Second

Circuit affirmed these findings, holding this Court “did not abuse its discretion in rejecting

Maxwell’s meritless arguments that her interests superseded the presumption of access.” Giuffre,

827 F. App’x 144.

       Yet, with this second batch of documents, Ms. Maxwell offers only the same repackaged

generalized arguments, which this Court and the Second Circuit have already rejected as

insufficient to support the continued sealing of documents in this matter. Giuffre, 827 F. App’x

144; App. 838-39 (transcript of ruling), supra. These arguments are wholly insufficient to meet

the burden to justify continued sealing of the documents at issue.

       For the reasons stated herein, Docket Entries 231, 279, 315, 320, and 335, and their related

submissions—as well as all docket entries that received no objection—should be unsealed with

minimal redactions.2 Additionally, the objections raised in Ms. Maxwell’s November 18, 2020

letter regarding the J. Doe 1 transcript have already been considered and rejected—by both this

Court and the Second Circuit. The transcript should be released immediately.

I.     MS. MAXWELL’S OBJECTIONS TO THE UNSEALING OF THE SECOND
       BATCH OF DOCUMENTS ARE WITHOUT MERIT, AND THESE DOCUMENTS
       SHOULD BE UNSEALED.

       The party requesting that documents remain sealed bears the heavy burden of

demonstrating that there are compelling competing factors that outweigh the presumption of access



2
  As maintained previously, Intervenors do not object to redactions of limited, sensitive personal
identifying information, such as Social Security and bank account numbers, and the identities of
underage sexual assault victims.

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that attaches to each of the judicial documents at issue. See Delta Air Lines, Inc. v. Bombardier,

Inc., No. 1:20-CV-3025-GHW, 2020 WL 2614704, at *4 (S.D.N.Y. May 22, 2020); Bernsten v.

O’Reilly, 307 F. Supp. 3d 161, 168 (S.D.N.Y. 2018); Lytle v. JPMorgan Chase, 810 F. Supp. 2d

616, 621–22 (S.D.N.Y. 2011). Those factors and the harm of disclosure must be identified with

specificity. Lytle, 810 F. Supp. 2d at 621–22.

       Each of Ms. Maxwell’s arguments are insufficient to meet the burden to justify continued

sealing of the documents at issue.

       A.      Reliance on a Protective Order By a Party or Non-Party

       Ms. Maxwell continues to argue that, if a party or non-party relies on a protective order or

sealing order and provides information in discovery, the information must remain sealed. This is

incorrect. Parties to a case cannot—by agreement—override the public right of access to judicial

documents.

       For this reason, courts in this Circuit have routinely ordered unsealing of documents even

though the parties in those cases had agreed to protective orders or confidentiality provisions. See,

e.g., Gambale v. Deutsche Bank AG, 377 F.3d 133, 143 (2d Cir. 2004) (unsealing judicial

document despite a party’s claim that it had settled the claim to “avoid public disclosure at trial of

the temporarily sealed documents”); Bernsten, 307 F. Supp. 3d 161 (unsealing documents

submitted in support of motion to compel arbitration despite parties’ agreement to file them under

seal); Wells Fargo Bank, N.A. v. Wales LLC, 993 F. Supp. 2d 409, 414 (S.D.N.Y. 2014) (holding

the fact that the agreement “contains a confidentiality clause is not binding here, given the public’s

right of access to ‘judicial documents’”).3 Courts do so, recognizing that “[t]he presumption of



3
  The case relied on by Maxwell is not to the contrary. Instead, Martindell v. Int’l Tel. & Tel.
Corp., 594 F.2d 291, 297 (2d Cir. 1979), addresses only whether reliance on a valid protective
order may be a considered as a countervailing interest to disclosure. But here, the Second Circuit

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public access would become virtually meaningless if it could be overcome by the mutual interest

of the parties…” Wolinsky v. Scholastic Inc., 900 F. Supp. 2d 332, 334 (S.D.N.Y. 2012).

       Further, the Second Circuit has held it is unreasonable to rely on a protective order that, by

its very terms, may be modified or contemplates disclosure. Lugosch v. Pyramid Co. of Onondaga,

435 F.3d 110, 126 (2d Cir. 2006); Allen v. City of New York, 420 F. Supp. 2d 295, 301 (S.D.N.Y.

2006). In Lugosch, the court held that a provision stating “[t]his Confidentiality Order shall not

prevent anyone from applying to the Court for relief therefrom” makes it “difficult to see how the

defendants can reasonably argue that they produced documents in reliance on the fact that the

documents would always be kept secret.” 435 F.3d at 126. Moreover, “protective orders that are

on their face temporary or limited may not justify reliance by the parties.” Allen, 420 F. Supp. 2d

at 301 (citing Gambale, 377 F.3d at 142 n. 7). In other words, parties cannot reasonably rely on a

document that is subject to change or that provides a mechanism for disclosure.

       The protective order at issue here contemplates modification and disclosure in at least two

provisions. First, it states it would “have no force and effect on the use of any CONFIDENTIAL

INFORMATION at trial in this matter,” thereby signaling to the parties that information deemed

CONFIDENTIAL is not guaranteed to remain so. Dkt. 62, at 5. Second, the protective order states

that it could be “modified by the Court at any time for good cause shown . . . .” Id. at 6. Given

these provisions, which explicitly contemplate confidential information later becoming public at

trial and modification of the order “at any time for good cause shown,” it was not reasonable for

Ms. Maxwell to rely on the protective order. See Lugosch, 435 F.3d at 126.



has already held that the protective order was not valid, as implemented. See Brown v. Maxwell,
929 F.3d 41 (2d. Cir. 2019). Therefore, Martindell is not applicable. Further, in later cases, the
Second Circuit limited Martindell’s ruling to cases involving documents that were not “judicial
documents” subject to a presumption of access. See United States v. Amodeo, 44 F.3d 141 (2d Cir.
1995).

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       Additionally, a blanket protective order, such as the one at issue here, cannot reasonably

be relied on because it is “by nature overinclusive and, therefore, peculiarly subject to later

modification.” Application of Akron Beacon Journal, No. 94 CIV. 1402 (CSH), 1995 WL 234710,

at *15 (S.D.N.Y. Apr. 20, 1995) (emphasis and internal citation omitted). Indeed, the Federal

Rules of Civil Procedure require a showing of good cause for protection of documents, see Fed.

R. Civ. P. 26(c), and it is unreasonable to rely on a blanket protective order to protect a document

the party has not yet independently shown good cause to seal, see Application of Akron Beacon

Journal, 1995 WL 234710, at *15; Schiller v. City of New York, No. 04 CIV. 7921 KMK JCF,

2007 WL 136149, at *5 (S.D.N.Y. Jan. 19, 2007); see also Fournier v. Erickson, 242 F. Supp. 2d

318, 342 (S.D.N.Y. 2003) (finding “the Court has no basis to seal [documents] indefinitely” where

the parties “were never required to show good cause for sealing the various documents”).

       Ms. Maxwell and non-parties4 could not have reasonably relied on a blanket protective

order that allowed the parties to file documents under seal before a court had made an independent

determination as to whether good cause exists. Cf. Allen v. City of New York, 420 F. Supp. 2d 295,

301 (S.D.N.Y. 2006) (“[I]f good cause is not shown, the discovery materials in question should

not receive judicial protection and therefore would be open to the public for inspection.”); see also

Dkt. 348, Standing Order (J. Sweet) (“To reduce unnecessary filings and delay, it is hereby ordered

that letter motions to file submissions under seal pursuant to the Court’s Protective Order, ECF




4
  Ms. Maxwell lacks standing to assert arguments on behalf of non-party Does. In re Bernard L.
Madoff Inv. Sec. LLC, 721 F.3d 54, 58 (2d Cir. 2013) (“A party must
‘assert his own legal rights and interests, and cannot rest his claim to relief on the legal rights or
interests of third parties.’”). Doe 1 and Doe 2 were given notice and an opportunity to contest
disclosure, and they declined to do so. They were sent excerpts of sealed documents in which they
were identified, and they chose not to object. See Dkt. 1153.

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No. 62, are granted. The Protective Order is amended accordingly such that filing a letter motion

seeking sealing for each submission is no longer necessary.”).

       Because the protective order was a blanket order that did not require demonstration of good

cause for sealing each document and, by its very terms, expected materials marked

CONFIDENTIAL to later be publicly disclosed at trial, and allowed for modification by the Court

at any time, Ms. Maxwell and third parties could not have reasonably relied on the protective order.

       B.      Privacy

       Ms. Maxwell suggests that her privacy interests outweigh the public interest in these

judicial documents. But sexual content alone is insufficient to justify continued sealing of Ms.

Maxwell’s deposition transcript. This case concerns allegations of sexual assault and trafficking

of minors. Therefore, discovery in the case would involve questions about sex.

       Framing allegations of sexual abuse as “private” protects perpetrators at the expense of

victims. The Miami Herald’s coverage of Mr. Epstein’s and his associates’ alleged crimes has

nothing to do with consensual sexual preferences and everything to do with the abuse of young

girls, whether that crime was justly prosecuted or, instead, whether it was quietly dispensed with

by the legal system to protect the reputations of well-connected adults. This is not information

that could reasonably be characterized as exposing Ms. Maxwell to “annoyance” or

“embarrassment” in a way that could support continued sealing under the good cause standard of

Rule 26.

       The fact that this testimony was compelled by Judge Sweet does not change the analysis.

Parties may be compelled to testify for any number of reasons, and there is no correlation between

granting a motion to compel (which simply requires a showing of relevancy and lack of privilege),

with sealing (which requires a showing of good cause). See Fed. R. Civ. P. 26.



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       Here, the public interest in disclosing materials regarding matters of grave public

importance outweighs Ms. Maxwell’s alleged privacy rights. See United States v. Amodeo, 71

F.3d 1044, 1050 (2d Cir. 1995) [hereinafter Amodeo II] (“[A] court must balance competing

considerations against” the presumption of access). The Second Circuit in Amodeo II held that the

“nature and degree of injury” should be considered when weighing the privacy interests against

public access. Id. at 1051. But as articulated above, the materials Ms. Maxwell seeks to withhold

involve allegations of child sex trafficking that cannot be shielded by claims of privacy for those

involved. Another factor “a court may consider [is] whether the nature of the materials is such that

there is a fair opportunity for the subject to respond to any accusations contained therein.” Id. The

materials Ms. Maxwell principally objects to disclosing are her deposition transcript and references

to it. Because the transcript contains her own admissions and her own defenses to the allegations,

this factor should weigh heavily in favor of disclosure.

       C.      Unsubstantiated Claims and Speculative Harms Regarding Ms. Maxwell’s
               Right to a Fair Jury Trial

       In addition to her claims about reliance, Ms. Maxwell continues to make unsubstantiated

claims about speculative harms regarding her right to a fair jury trial.

       In this Court’s oral ruling to unseal the first batch of documents, the Court held “Ms.

Maxwell has relied on [ipse] dixits and has not explained how the sealed material, if released,

could, as she posits, ‘inappropriately influence potential witnesses or victims.’” App. 839

(transcript of ruling), Giuffre v. Maxwell, 20-cv-2413 (2d Cir. 2020). Ms. Maxwell continues to

make the same ipse dixit arguments regarding her right to a fair jury trial.

       The First Amendment right of access cannot be overcome by the conclusory assertion that

publicity might deprive the defendant of [the right to a fair trial].” Press-Enter. Co. v. Superior

Court of California for Riverside Cty., 478 U.S. 1, 15 (1986).


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        Rather than meaningfully addressing this, Ms. Maxwell instead asks why the judge in her

criminal trial “should need to” “undertake steps that might ameliorate the prejudicial effect of an

unsealing in this case,” when this court could simply not unseal the records. See Objections, at 9.

The answer is that the First Amendment requires it.            Restricting public access to judicial

proceedings and records is not an appropriate remedy for ensuring a fair trial where there are

alternate means of accomplishing the same goal. See Lugosch, 435 F.3d at 124 (sealing must be

narrowly tailored). For example, “voir dire examination still remains a sufficient device to

eliminate from jury service those so affected by exposure to pre-trial publicity that they cannot

fairly decide issues of guilt or innocence.” Myers, 635 F.2d at 953. Before ordering material to be

sealed, the Court must consider these alternative steps to ameliorate the prejudice against Ms.

Maxwell, and if sufficient alternatives exist, sealing is not justified.

        Ms. Maxwell’s claims of prejudice also extend far beyond arguments that release will taint

a jury pool: She also asks this Court to withhold judicial documents to help her win her criminal

case. See Objections, at 10 (“Unless suppressed, the deposition transcript will most certainly be a

trial exhibit.”); id. at 12-13 (“Unsealing the deposition material in this case would … prejudice

Ms. Maxwell’s right to seek relief in the criminal case” regarding the Government’s acquisition of

her deposition transcript). It is not this Court’s role to prevent documents that were publicly filed

in this case from being released, simply because they might be offered against Ms. Maxwell in a

criminal trial or might disadvantage her position in a pre-trial suppression motion.5

        While Ms. Maxwell spends a considerable amount of time decrying the media attention

that has befallen her, enhanced media attention—especially media attention about matters of public




5
 Of course, whether documents are released in this matter is not relevant to whether they will be
admissible in a criminal proceeding.

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concern like those at issue here—does not alone jeopardize a defendant’s right to a fair trial. See

United States v. Graham, 257 F.3d 143, 155 (2d Cir. 2001). The Court is not required to “[sanitize]

the public at large … as if they all would become jurors.” Id. at 155. Ms. Maxwell is required to

demonstrate a threat to her right to a fair trial that goes beyond mere speculation to overcome the

presumption of public access. Id.; Application of Nat’l Broad. Co., Inc. v. Myers, 635 F.2d 945,

953-54 (2d Cir. 1980). She has failed to do so here.

       D.      Ms. Maxwell Fails to Provide Specific Objections That Could Justify Sealing.

       Notwithstanding the 18-page brief and 28-page chart submitted by Ms. Maxwell, she has

failed to identify with the required specificity any countervailing interest sufficient to overcome

the substantial presumption of access. Indeed, the chart attached to Ms. Maxwell’s Objections as

Exhibit A provides very little information about the docket entries, including even a name or

description of the filing, making it difficult to meaningful respond to “Defendant’s Position.”

       As set forth above, Ms. Maxwell repeatedly cites generalized concerns and asks the Court

to broadly continue to seal entire documents based on those generalized concerns. These alleged

“countervailing interests” are wholly insufficient to support the continued sealing of documents in

this case. See New York v. Actavis, PLC, No. 14 CIV. 7473, 2014 WL 5353774, at *3 (S.D.N.Y.

Oct. 21, 2014) (citing Lugosch, 435 F.3d at 124) (decisions to seal must be supported by “specific,

on-the-record findings that sealing is necessary to preserve higher values and only if the sealing

order is narrowly tailored to achieve that aim”).

       Plaintiff argues that all quotes from Ms. Maxwell and non-party depositions, non-party

identifying information, and “argument of counsel violative of Local Criminal Rule 23.1” remain

sealed. She also argues—without any substantive explanation—that more than 60 full exhibits or

supporting documents remain sealed in full. Ms. Maxwell offers no specific argument that would

support these redactions and the wholesale sealing of more than 60 exhibits.

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These documents should be released in full because:

      There is no stated reason not to release general identifying information about non-

       parties involved in this litigation, as witnesses or otherwise.

      Testimony cited in judicial documents must be public unless there is a specific

       countervailing interest that outweighs the presumption of access. Here, no such

       specific interest has been identified, and Ms. Maxwell has failed to even identify

       with specificity the testimony she believes should be sealed.

      Local Criminal Rule 23.1 applies to extrajudicial statements that go beyond the

       public record—it does not apply to statements made in court filings (like those at

       issue here), which should have been unsealed and made public years ago.

      J. Does 1 and 2 have not asserted any objections with regard to these materials,

       despite receiving notice and an opportunity to be heard.

      Sexual content alone is insufficient to justify continued sealing of Ms. Maxwell’s

       deposition transcript.    This case concerns allegations of sexual assault and

       trafficking of minors. There is no recognized privacy interest in allegations of sex

       trafficking.   Any privacy interest Ms. Maxwell may have is substantially

       outweighed by the public interest in disclosure, which will shed light on the abuse

       of young girls and women—and the system that allowed the abuse to continue.

      There is no support for Ms. Maxwell’s claims that the third-party depositions are

       unreliable. She simply claims that her counsel did not cross-examine the witnesses

       under oath. But this is the hearsay standard, not the sealing standard.




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                Generalized statements about reliance and vague and unsupported assertions about

                 harm to Ms. Maxwell’s right to a fair trial are insufficient to overcome the public

                 right of access to these documents.

II.       MS. MAXWELL’S OBJECTIONS TO THE UNSEALING OF THE J. DOE 1
          DEPOSITION HAVE ALREADY BEEN RULED UPON.

          In her November 18, 2020 letter regarding the J. Doe 1 transcript (Dkt. 1154), Ms. Maxwell

re-asserted her objections that the J. Doe 1 transcript remain sealed. Ms. Maxwell has already

asserted these objections (Dkt. 1056).6 The Court considered those objections, made its own

assessment of whether any countervailing interests supported continued sealing of this transcript,

and determined that there were no countervailing interests that could support the continued sealing

of the transcript. App. 837, 844 (transcript of ruling), Giuffre v. Maxwell, 20-cv-2413 (2d Cir.

2020) (ordering that the J. Doe 1 transcript be “[u]nseal[ed] in full” and noting “the names of Does

1 and 2, [and] portions of their deposition transcripts … have already been made public”); Dkt.

1077 (incorporating oral ruling); Dkt. 1079 (denying Ms. Maxwell’s motion for reconsideration).

Ms. Maxwell appealed that decision, and the Second Circuit issued a summary affirmance, stating

that this Court “did not abuse its discretion in rejecting Maxwell’s meritless arguments that her

interests superseded the presumption of access.” Giuffre, 827 F. App’x 144. There is no basis for

Ms. Maxwell to object to the release of Doe 1’s name and deposition transcript.

          Further, Doe 1 has received the relevant documents that reference Doe 1 and has not

objected to the release of any of the information. The Court has also independently assessed

whether any countervailing interests support continued sealing of this transcript and determined

that there were none. To the extent that Doe 1 has objected to disclosure of his or her name, that

objection is insufficient to support sealing, particularly where there has been no objection to the


6
    As set forth above, Ms. Maxwell also does not have standing to raise these issues.

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release of all of the related information about Doe 1. If the information does not in itself raise

privacy concerns, then attaching one’s name to it should not raise privacy concerns, either. And

simply being associated with this litigation is not a sufficient privacy interest to warrant sealing.

See Moussouris v. Microsoft Corp., No. 15-CV-1483 JLR, 2018 WL 2017296, at *2 (W.D. Wash.

Apr. 26, 2018) (finding that non-parties’ “desire not to be associated with this lawsuit” is not a

sufficient privacy justification to warrant redacting their names). Simply requesting that one’s

name be withheld is not enough. The Does must demonstrate that their privacy interests outweigh

the presumption of access, and Doe 1 has not done so here.

                                         CONCLUSION

       For all of the foregoing reasons, Intervenors respectfully request that this Court unseal

sealed materials related to Docket Entries 231, 279, 315, 320, and 335, and their related

submissions, as well as all docket entries that received no objection. Additionally, Intervenors

request that the J. Doe 1 transcript be released immediately.



Dated: New York, New York                         Respectfully submitted,
       November 19, 2020
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